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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 ALLSTATE INSURANCE COMPANY a/s/o )
 Tanner D. Allen,                 )
                                  )                      No.
                      Plaintiff,  )
                                  )                      Judge
                  v.              )
                                  )                      (Formerly case no. 20211012617 (Cir. Ct.
 UNITED STATES POSTAL SERVICE,    )                      Cook County)
                                  )
                      Defendant.  )

                                      NOTICE OF REMOVAL

 To:        Matek and Mazar, LLC                    Circuit Court Clerk of
            77 West Washington                       Cook County
            Suite 1313                              50 West Washington Street
            Chicago, Illinois 60602                 Room 602
                                                    Chicago, Illinois 60602

       Defendant United States Postal Service, by its attorney, John R. Lausch, Jr., United States

Attorney for the Northern District of Illinois, submits this notice of removal of the above-captioned

civil action from the Circuit Court of Cook County, Illinois, to the United States District Court,

Northern District of Illinois, pursuant to 28 U.S.C. §1442(a)(1), and in support states the following:

       1.        In June 2021, plaintiff Allstate Insurance Company filed suit in state court against

the Postal Service for property damage to its insured Tanner D. Allen’s vehicle allegedly arising

from a collision with a Postal Service vehicle. Ex. 1.

       2.        The Postal Service is a federal agency. Allstate’s state court complaint for alleged

personal injuries against the Postal Service are therefore actions against an agency or officer under

the direction of an agency or officers of the United States for actions under color of law and are

subject to removal to this court pursuant to 28 U.S.C. § 1442(a)(1).
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       3.       Sovereign immunity ordinarily shields the federal government, its agencies, and its

officials from lawsuits. FDIC v. Meyer, 510 U.S. 471, 475 (1994). Furthermore, a party seeking

to invoke state court jurisdiction over the United States (or its agencies) has the burden of pointing

to a congressional act that gives such consent to suit. Cole v. United States, 657 F.2d 107, 109

(7th Cir. 1981). There is no provision giving the state courts jurisdiction over Allstate’s tort claims

against the Postal Service, and in fact, the Federal Tort Claims Act requires that all such tort actions

be filed against the United States (not an agency) in federal district court. 28 U.S.C. § 1346(b)(1);

Alinsky v. United States, 415 F.3d 639, 643 (7th Cir. 2005) (concluding that the FTCA grants

federal courts jurisdiction over damages claims against the United States for negligence by a

government employee); Midwest Knitting Mills, Inc. v. United States, 950 F.2d 1295, 1297 (7th

Cir. 1991) (asserting that district courts have exclusive jurisdiction over FTCA claims against the

United States for injuries).

       4.       Because the state court lacked jurisdiction over the Postal Service, this court

acquires no jurisdiction upon removal, and the Allstate’s state court actions against the Postal

Service should be dismissed. Ricci v. Salzman, 976 F.3d 768, 771 (7th Cir. 2020); Edwards v.

Department of Justice, 43 F.3d 312, 316 (7th Cir. 1994); Illinois v. Holmes, 2017 WL 2345631, *

2 (N.D. Ill. May 30, 2017); Ferto v. Fielder, 2010 WL 3168293, *2 (N.D. Ill., Aug. 5, 2010);

Dunne v. Hunt, 2006 WL 1371445, *4 (N.D. Ill., May 16, 2006).

       5.      Copies of all process, pleadings, and orders received by the Postal Service are

attached hereto as exhibit 1.




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       WHEREFORE, this civil action against the Postal Service is properly removed to this court

pursuant to 28 U.S.C. § 1442(a).

                                            Respectfully submitted,

                                            JOHN R. LAUSCH, Jr.
                                            United States Attorney

                                            By: s/ Ernest Y. Ling
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                                               Assistant United States Attorney
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                        Exhibit 1
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                                CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that the following
documents:

       Notice of Removal and Attorney Designation

were sent by first class mail, postage paid on August 5, 2021, to the following:

 Matek and Mazar, LLC                         Circuit Court Clerk of
 77 West Washington                            Cook County
 Suite 1313                                   50 West Washington Street
 Chicago, Illinois 60602                      Room 602
                                              Chicago, Illinois 60602




                                                     s/ Ernest Y. Ling
                                                     ERNEST Y. LING
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